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                         UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
                         SOUTHERN (SANTA ANA) DIVISION
13
14    ANTONIO HURTADO, et al.,          )   Case No.: 8:17-cv-01605-JLS-DFM
                                        )
15
      Plaintiffs,                       )   Assigned to Hon. Josephine L. Staton
16                                      )
      v.                                )   PLAINTIFFS’ MEMORANDUM IN
17
                                        )   SUPPORT OF UNOPPOSED EX
18    RAINBOW DISPOSAL CO., INC.        )   PARTE APPLICATION TO
19    EMPLOYEE STOCK                    )   PERMIT FILING OF AMENDED
      OWNERSHIP PLAN                    )   NOTICE OF MOTION AND
20    COMMITTEE, et al.                 )   MOTION FOR CLASS
21                                      )   CERTIFICATION
      Defendants.                       )
22                                      )
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27 HURTADO, et al., v. RAINBOW DISPOSAL CO., INC. EMPLOYEE STOCK
28 OWNERSHIP PLAN COMMITTEE, et al., Case No. 17-cv-1605-JLS-DFM
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 1         Plaintiffs respectfully request that this Court permit Plaintiffs to file their
 2 Amended Motion for Class Certification on December 18, 2018.
 3         On December 14, 2018—the date on which Plaintiffs’ Motion for Class
 4 Certification was due under the Scheduling Order in this case—Plaintiffs filed their
 5 Motion for Class Certification and Notice of Motion, Memorandum of Points and
 6 Authorities, supporting exhibits, and proposed order. Dkt. No. 139. Due to an
 7 administrative error, the wrong version of Plaintiffs’ Notice of Motion and Motion
 8 was filed with the Court. Declaration of Colin Downes ¶ 2. On December 17,
 9 2018, the Court struck Plaintiffs’ Motion for Class Certification and Notice of
10 Motion as deficient because the “hearing information is missing, incorrect, or not
11 timely.” Order (Dkt. No. 141).1 The incorrect hearing information was that the date
12 for hearing on Plaintiffs’ Motion for Class Certification was identified as March
13 22, 2018, rather than March 22, 2019 as set by the Scheduling Order. See
14 Scheduling Order (Dkt. No. 122) at 2. On December 17, 2018, shortly after
15 receiving the Order (Dkt No. 141), Plaintiffs’ counsel contacted Defendants’
16 counsel to see if they would oppose the filing of a corrected Motion. Declaration of
17 Colin Downes ¶ 3. On December 18, 2018. Plaintiffs filed a corrected motion for
18 class certification, with the properly noticed hearing date.
19         Rule 6(b)(1)(B) provides that “When an act may or must be done within a
20 specified time, the court may, for good cause, extend the time… on motion made
21 after the time has expired if the party failed to act because of excusable neglect.”
22 Fed. R. Civ. P. Rule 6(b)(1)(B). As Rule 6 requires both good cause and excusable
23 neglect, courts in this Circuit have generally considered the good cause standard in
24
    As the Court’s Order only struck Dkt. No. 139 and not any of the associated
     1

25 documents, Plaintiffs understand that only the Dkt. No. 139 was struck and not
26 Dkt. Nos. 139.1-139.37. As a result, Plaintiffs have not sought to refile the
   associated memorandum or other supporting documents.
27 HURTADO, et al., v. RAINBOW DISPOSAL CO., INC. EMPLOYEE STOCK
28 OWNERSHIP PLAN COMMITTEE, et al., Case No. 17-cv-1605-JLS-DFM
   PLAINTIFF’S MEMORANDUM ISO OF EX PARTE APPLICATION                                        2
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 1 Rule 16 subsumed within Rule 6 in similar circumstances. E.g., Federal Trade
 2 Comm’n v. Johnson, No. 2:10-cv-02203, 2013 WL 12316503, *1 (D. Nev. Dec.
 3 10, 2013). The requirements of Rule 6 and Rule 16 are met in this case.
 4         Whether neglect is excusable is an equitable question, where the
 5 circumstances to be weighed include “the danger of prejudice… the length of the
 6 delay and its potential impact on judicial proceedings, the reason for the delay,
 7 including whether it was within the reasonable control of the movant, and whether
 8 the movant acted in good faith.” Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd.
 9 P'ship, 507 U.S. 380, 395 (1993) (holding that “excusable neglect,” contemplates
10 that courts are permitted, where appropriate, to accept late filings caused by
11 inadvertence, mistake, or carelessness). “The determination is at bottom an
12 equitable one, taking account of all relevant circumstances.” Id. (finding a party’s
13 late filed claim met the standard of excusable neglect even though it was not
14 beyond the party’s control). Consistent with that standard, the Ninth Circuit has
15 held that the failure to file a timely appeal due to a calendaring mistake, which was
16 an “egregious” mistake by the attorney, nonetheless met the standard for excusable
17 neglect. Pincay v. Andrews, 389 F.3d 853, 858 (9th Cir. 2004). “Generally, a
18 ‘typo’ is categorized as a ‘mistake’ or ‘excusable neglect.’” Baker v. Schriro, No.
19 CV07-0353PHXSMMJRI, 2008 WL 2003757, at *2 (D. Ariz. May 8, 2008)
20 (holding that typo in final digit of year constituted excusable neglect).
21         In this case, the mistake was a minor one which is unlikely to have confused
22 anyone, particularly since the Court had previously set the hearing on class
23 certification for March 22, 2019. Scheduling Order (Dkt. No. 122) at 2. There is
24 no prejudice to Defendants as they would have certainly understood that Plaintiffs
25 intended to set the hearing for March 22, 2019, rather than March 22, 2018 (a date
26 that had passed almost 9 months ago). The mistake was caused by a mistaken
27 HURTADO, et al., v. RAINBOW DISPOSAL CO., INC. EMPLOYEE STOCK
28 OWNERSHIP PLAN COMMITTEE, et al., Case No. 17-cv-1605-JLS-DFM
   PLAINTIFF’S MEMORANDUM ISO OF EX PARTE APPLICATION                                     3
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 1 filing of a draft of the motion that contained the error rather than the revised
 2 version that had corrected the error. Declaration of Colin Downes ¶ 2. As relief,
 3 Plaintiffs seek only substitution of the newly filed motion for the one struck by the
 4 Court and the memorandum of points and authorities, exhibits, and proposed order
 5 previously filed are unaffected. The delay has been minimal given that Plaintiffs
 6 are filing this motion within 1 day after the Court struck the prior motion (and only
 7 waited that long to allow Defendants’ counsel time to formulate their positions on
 8 this Application). Finally, there is no bad faith on the part of Plaintiffs.
 9         Pursuant to L.R. 7-19, this memorandum must set out the names, address,
10 telephone number, and email addresses of counsel for opposing parties. All
11 Defendants in this case have stated that they do not intend to oppose this
12 Application.
13         For the foregoing reasons, Plaintiffs should be allowed to file their Corrected
14 Motion for Class Certification and Notice of Motion on December 18, 2018.
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27 HURTADO, et al., v. RAINBOW DISPOSAL CO., INC. EMPLOYEE STOCK
28 OWNERSHIP PLAN COMMITTEE, et al., Case No. 17-cv-1605-JLS-DFM
   PLAINTIFF’S MEMORANDUM ISO OF EX PARTE APPLICATION                                   4
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 1 DATED: December 18, 2018                  Respectfully submitted,
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28 OWNERSHIP PLAN COMMITTEE, et al., Case No. 17-cv-1605-JLS-DFM
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 1                            CERTIFICATE OF SERVICE
 2         I, Ming Siegel, hereby certify that on December 18, 2018, a copy of the
 3 foregoing Memorandum in Support of Plaintiffs’ Ex Parte Application to Permit
 4 Filing of Amended Notice of Motion and Motion for Class Certification was
 5 served on the following counsel of record by the CM/ECF system:
 6         Dated this 18th day of December 2018.
 7
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28   OWNERSHIP PLAN COMMITTEE, et al., Case No. 17-cv-1605-JLS-DFM
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27 HURTADO, et al., v. RAINBOW DISPOSAL CO., INC. EMPLOYEE STOCK
28 OWNERSHIP PLAN COMMITTEE, et al., Case No. 17-cv-1605-JLS-DFM
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